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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          )
                                                  )
               v.                                 )   No.    1:22-mj-76 (GMH)
                                                  )
ARIAN TAHERZADEH &                                )
HAIDER ALI,                                       )
                                                  )
                          Defendants.             )

                    GOVERNMENT’S SUPPLEMENTAL MEMORANDUM
                       IN SUPPORT OF MOTION FOR DETENTION

       As the Government stated during Friday’s detention hearing, with every new fact

uncovered in the investigation of Defendants Arian Taherzadeh and Haider Ali, the story only gets

worse. What we have learned in the 36 hours since that hearing is no exception. With respect to

the Court’s question about whether the Defendants conducted legitimate business as Special Police

Officers (SPOs), the answer is a resounding no—in fact, the Defendants sought but were denied

commissions to work as armed SPOs and, even if they had obtained such commissions, their

activities far exceeded the scope of SPO authority. In addition, within the last day, the Government

has confirmed more troubling facts: the ammunition magazines seized from Ali’s Glock 19 and

Taherzadeh’s Sig Sauer were illegal, high-capacity magazines; and, after Taherzadeh was tipped

off about the investigation, either he or Ali appears to have made further attempts to conceal

evidence, including by trying to corruptly enlist the help of a federal law enforcement

agent. Because of the breakneck pace of the investigation, there are many facts that we still do not

know. But the facts that we do know about the Defendants—that they lied about their identities

for years, stored a cache of weapons and surveillance equipment in their apartments, compromised

law enforcement agents in sensitive positions, and tried to cover up their crimes—leave no doubt

that their release poses a public safety risk. Both Defendants should be detained.
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   1. The Defendants’ Applications to the District of Columbia for Commissions to be
      Armed SPOs were Rejected.

       The Court inquired whether the Defendants had any legitimate reason to carry firearms as

licensed SPOs. They did not. In fact, each of them applied for and was denied a commission to

work as an armed SPO in the District of Columbia. Nonetheless, as detailed in the Complaint and

the Government’s Detention Motion, and elaborated more below, the Defendants presented

themselves as armed law enforcement agents and possessed illegal weapons and ammunition.

Even if they were licensed as SPOs, the Defendants’ possession and use of weapons, ammunition,

and other tools of law enforcement and covert tradecraft far exceed the scope of SPO licensure,

further evidencing the lengths of their deception and demonstrating their dangerousness.

       In the District of Columbia, SPOs are appointed by the mayor and must be commissioned

under the District of Columbia Municipal Regulations. See D.C. Code § 5-129.02 (previously

codified as D.C. Code § 4-114 (1981)); D.C.M.R. §§ 1100 (Appointment: General Provisions),

1101 (Appointment: Section 4-114 Appointments). Licenses are obtained by application to the

Department of Consumer and Regulatory Affairs (DCRA), must be approved by MPD, and are

restricted to a specific premise the SPO is authorized to guard or protect. E.g., D.C.M.R. §§

1100.7(d) (noting that commissions must be approved by the Chief of Police), 1101.3 (tying

commissions to specific premises or companies with security responsibility over specific

premises). According to MPD, Taherzadeh applied to be an armed SPO and was denied on March

18, 2019, due to his prior misdemeanor conviction for domestic violence. See id. § 1102.2

(prohibiting appointment as a SPO to any person convicted of a crime of violence). Taherzadeh

subsequently reapplied, and was permitted to obtain a commission as an unarmed SPO. That

commission expired when Taherzadeh did not provide supporting documents in support of

relicensing in December 2021. Likewise, according to MPD, Ali applied for and was denied an



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SPO commission in or around October 2020 based on his prior arrests for Assault of Family

Member (2018) and Malicious Wounding & Abduction by Force (2009). In addition, according

to MPD, neither Defendant has a license to carry a pistol outside of his residence. Nonetheless,

according to witnesses, Taherzadeh regularly did, and a concealed carry holster for Ali’s Glock

recovered in the search of Penthouse 5 indicates that he did as well.

       Even though neither Defendant was commissioned as an armed SPO, in July 2018,

Taherzadeh registered a security company, “United States Special Police LLC,” with the District

of the Columbia. According to MPD, because that name risked confusing the LLC with federal

law enforcement and conveying false authority, DCRA required Taherzadeh to change the name.

He changed it to “USSP.” USSP’s license expired on October 31, 2021, and was not renewed.

USSP has never had any firearms registered to it. USSP supplies neither Defendant with

justification for their weaponry, their tactical and other gear identifying themselves as police or

federal agents, or their false claims to be law enforcement agents.

       The Government has also learned that Ali obtained a license as a private detective. See

D.C.M.R. § 17-2000 (General Provisions; defining a “private detective” as any person engaged in

the business of “revealing crime or criminals,” “securing information for evidence relating to crime

or criminals,” or “revealing the identity, whereabouts, character, or actions of any person(s) or

thing(s)”). But Ali does not appear to have held himself out or conducted any business as a private

detective, and the applicable Municipal Regulations confer no authority on private detectives to

carry weapons or convey law enforcement authority. Indeed, unlike with an SPO license, because

“private detective” licensure does not confer special authority, it does not require special training.

This appears only to be another effort by Ali to obtain some imprimatur of official authority for

his deceitful scheme. Indeed, when confronted by a USPIS Inspector on March 16, 2022, Ali




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falsely represented himself to be “an investigator with USSP Special Investigations Unit, part of

DHS.”

   2. Even if the Defendants Were SPOs, Their Conduct Was Not Authorized.

        Even if the Defendants were commissioned as SPOs, ran a legitimate security company, or

were engaged in the business of a private detective, their activities far exceeded the scope of SPO

authority and illustrates the danger posed by their masquerade. In the District of Columbia, “[t]he

duties of special police officers . . . shall consist largely of periodically checking doors, windows,

etc., in the nature of a ‘watchman.’” D.C.M.R. § 1101.6; see also D.C.M.R. §§ 1103 (restricting

SPOs’ display of badges, weapons, and other evidence of authority to the premises they are

commissioned to guard or protect, and directing that weapons shall remain only on those premises

unless they cannot practically be stored there), 1109 (requiring SPOs to wear “distinctive

uniforms” identifying them as “SPECIAL POLICE”).

        But these men did not confine themselves to periodically checking doors and windows.

The Defendants equipped themselves to break down doors and windows and perform other armed

law enforcement activities, amassing weapons, surveillance equipment, and breach tools. As an

initial matter, Taherzadeh is prohibited from possessing a firearm or even one bullet by federal

law—regardless of whether at home—because of his prior misdemeanor domestic violence

conviction. But even if Taherzadeh were permitted to possess a firearm at all, SPOs must request

and receive special authorization from MPD to carry a semiautomatic weapon, like Ali’s Glock 19

or Taherzadeh’s Sig Sauer 229. According to MPD records, neither Taherzadeh, Ali, nor USSP

ever applied for or received such a waiver. Moreover, the Defendants represented themselves as

being engaged in covert federal law enforcement operations and used that cover to gain the

confidence of and to compromise federal law enforcement agents in sensitive positions—and they




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worked together to accomplish this. The Defendants could not present a clearer case of danger to

the community. 1

       In addition, Special Police officers are “strictly confined in their authority to the particular

place or property which they are commissioned to protect.” Id. at 1100.2. Further, they are

prohibited from even “displaying a badge, weapon, or other evidence of authority in any other

place than the property of, or under the charge of, the corporation or individual upon whose account

he or she is appointed.” Id. at 1103.1. In other words, there would be no legitimate purpose for

Taherzadeh to walk around displaying a badge or a weapon, unless at a property he was assigned

to protect—and to be clear, Taherzadeh was not authorized or assigned to use a weapon to protect

any property, nor has the Government uncovered any evidence that Taherzadeh did work as an

unarmed SPO. This is consistent with the purpose of these regulations: to prevent Special Police

officers from exercising their authority or for the public to perceive them to be exercising their

authority at any place other than property they are assigned to protect.

       The D.C. government is so concerned about the public’s perception of a Special Police

Officer’s authority that even the markings on their clothing are regulated. Specifically, they can

only wear patches and clothing that make clear that they are Special Police—not MPD or other

official law enforcement. The regulations require that while on duty they wear a “distinctive

shoulder patch… that must be circular in shape and at least five inches (5”) in diameter and carry

thereon in two (2) lines in suitable contrasting colors the words “SPECIAL POLICE” in letters not

less than one-half inch (1/2”) high in the center of the circle, together with the name or abbreviation

of the employer of that special officer.” In other words, an SPO cannot wear clothing or patches


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  The Government has also received alarming information from other witnesses, including a Naval
Intelligence Officer to whom Taherzadeh misrepresented himself as an HSI agent. The Intelligence
Officer was so alarmed and concerned about Taherzadeh’s attempt to gather information that he
reported the contact to the Naval Criminal Investigative Services.


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to indicate that they are MPD, a Special Agent, part of the Crisis Response Team (CRT), Special

Weapons and Tactics Team (SWAT), Special Investigations Unit, or anything similar. The items

seized from the Defendants served the opposite purpose. Their markings were intended to mislead

and deceive people into believing they were something they were not and had authority they did

not possess.




       In addition, law enforcement also seized a dynamic entry kit from Penthouse 5 which

included a mini-door ram, axe, sledgehammer, Halligan tool, and bolt cutters. MPD has confirmed

that not only are these items inconsistent with the responsibilities of “watchman,” but this type of

equipment is generally issued only to select MPD officers.




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       Finally, the Government notes that the fact that the Defendants worked together made their

scheme more credible, and makes each Defendant more dangerous. Each Defendant did what he

could to obtain some sort of armed law enforcement authority, but was denied. Undeterred, the

Defendants worked together to nonetheless take on all of the trappings of an armed law

enforcement officer and falsely represent themselves and each other as armed law enforcement.

According to witnesses, the Defendants’ scheme was effective in part because each of them

vouched for the false identity and authority of the other.

   3. The Defendants Were in Possession of Illegal Firearm Magazines.

       During the execution of the search warrant, law enforcement recovered illegal high-

capacity magazines for both Taherzadeh’s Sig Sauer 229 and Ali’s Glock 19. Under D.C. law, it

is illegal “to possess, sell, or transfer any large capacity ammunition feeding device regardless of

whether the device is attached to a firearm.” D.C Code § 7–2506.01 (b). A “large capacity

ammunition feeding device” means “a magazine…that has a capacity of, or that can be readily

restored or converted to accept, more than 10 rounds of ammunition.” Law enforcement seized

five 12-round magazines from Taherzadeh’s apartment for his 229 Sig Sauer and one 15-round

magazine from Penthouse 5 for Ali’s Glock 19. There is no lawful purpose for possessing these

large capacity magazines and it is inconsistent with the duties and responsibilities of a Special

Police officer or a private detective.

       In addition, the Government has just interviewed a witness—a former United States

Marine—whom Taherzadeh and Ali attempted to recruit and deputize for what they claimed were

DHS operations. According to the witness, in Taherzadeh and Ali’s presence, he observed illegal

weapons, including an AR-15/M4 variant automatic rifle with an illegal suppressor which had also




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been modified to be an illegal automatic weapon, and an AR Pistol with a modified brace

consistent with the firearm parts recovered during the execution of the search warrant.

   4. After Taherzadeh was Tipped Off, He and/or Ali Appear to Have Attempted to
      Conceal Evidence.

       At some point after Taherzadeh was informed of the Government’s investigation last

Tuesday, it appears that he and/or Ali tried to conceal evidence of their crimes by shipping it out

of their apartment complex.

       During the execution of the search warrant, in Penthouse 5, law enforcement discovered

shipping materials and UPS labels which raised concern that evidence was being secreted from the

premises. These concerns proved true. On Thursday, April 7, 2022, a USSS Uniformed Division

Officer referenced in the complaint and assigned to the White House, Witness 3, received a

package sent via UPS Next Day Air.          The return address on the label was “USSP” and

corresponded to Ali and Taherzadeh’s apartment complex. Within this box were additional

smaller boxes which each hid Sig Sauer and Glock firearm cases—the kind of case in which a

firearm is sold—but that do not correspond to any of the firearms seized during the search warrant.

These cases corresponded to apparent purchases of a P365 9MM Sig Sauer, a P365 XL 9MM Sig

Sauer 9MM , and a Glock 19 Generation 4 9MM.




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       In addition, the firearm case for the P365 Sig Sauer 9MM contained three ammunition

magazines, one of which appears to be a high-capacity magazine.




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       Notably, at the time that these items were shipped, the Government was conducting

constant surveillance of the Defendants and their apartment building, which they almost never left.

The Government believes that the Defendants may have been aware of this surveillance and thus,

that shipping the evidence was their attempt to remove evidence without the Government’s

detection.

       The package also contained a cigar case with four cigars. This is consistent with the prior

pattern and practice of providing federal law enforcement agents with gifts and items of value, and

suggests that Taherzadeh and/or Ali shipped the package to the USSS Uniformed Division Officer

in an attempt to corruptly enlist him in secreting evidence.




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                                           Conclusion

       Arian Taherzadeh and Haider Ali were not legitimate law enforcement of any kind. Yet

they possessed illegal firearms and ammunition; fraudulent badges and other law enforcement

identification; and surveillance and forced entry tools. When tipped off to this investigation, they

attempted to hide evidence of their conduct. Each hour since their arrest, the Government learns

more—and scarier—information about how Taherzadeh and Ali abused their fake authority. But

the Court has sufficient facts before it now to determine that their release would endanger the

community and risk their flight from justice and obstruction of critical evidence.



                                                     Respectfully submitted,

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